22-10910-shl        Doc 532        Filed 06/19/23 Entered 06/19/23 17:47:33                     Main Document
                                                Pg 1 of 3



James I. Stang (admitted pro hac vice)
Iain A.W. Nasatir
John W. Lucas
Malhar S. Pagay (admitted pro hac vice)
PACHULSKI STANG ZIEHL & JONES LLP
780 Third Avenue, 34th Floor
New York, NY 10017-2024
Tel: 212.561.7700; Fax: 212.561.7777
Emails: jstang@pszjlaw.com
        inasatir@pszjlaw.com
        jlucas@pszjlaw.com
        mpagay@pszjlaw.com

Counsel to the Official Committee of Unsecured Creditors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

---------------------------------------------------------------X
                                                               :
In re                                                          : Chapter 11
                                                               :
MADISON SQUARE BOYS & GIRLS CLUB,                              : Case No. 22-10910-SHL
INC.,1
                                                               :
                           Debtor.                             :
                                                               :
---------------------------------------------------------------X

          JOINDER OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
     IN SUPPORT OF DEBTOR’S (I) MEMORANDUM OF LAW IN SUPPORT OF (A) FINAL
    APPROVAL OF DEBTOR’S DISCLOSURE STATEMENT AND (B) CONFIRMATION OF
    FIRST AMENDED CHAPTER 11 PLAN OF REORGANIZATION OF MADISON SQUARE
           BOYS & GIRLS CLUB, INC. AND (II) REPLY TO OBJECTIONS THERETO


         The Official Committee of Unsecured Creditors (the “Committee”) of Madison Square

Boys & Girls Club, Inc. (the “Debtor”), in the above-captioned case under chapter 11 of title 11

of the United States Code (the “Bankruptcy Code”), hereby joins in support of Debtor’s (I)

Memorandum of Law in Support of (A) Final Approval of Debtor’s Disclosure Statement and (B)

1
  The last four digits of the Debtor’s federal tax identification number are 6792. The Debtor’s mailing address is
250 Bradhurst Avenue, New York, New York 10039.
22-10910-shl          Doc 532        Filed 06/19/23 Entered 06/19/23 17:47:33        Main Document
                                                  Pg 2 of 3




Confirmation of First Amended Chapter 11 Plan of Reorganization of Madison Square Boys &

Girls Club, Inc. and (II) Rely to Objections thereto [Docket No. 527] (the “Brief in Support of

Confirmation”) for the reasons stated in the Brief in Support of Confirmation.

           As set forth in greater detail in the Brief in Support of Confirmation, the Debtor’s

Chapter 11 Plan of Reorganization, [Docket No. 525] (the “Plan”)2 encompasses a settlement

that fairly compensates the holders of Abuse Claims with the available assets of the Debtor. The

Plan was the result of mediation and arm’s-length negotiations between the Committee and the

Debtor. The Plan creates a Compensation Trust that will provide Survivors the following: (a)

cash contribution of $2,225,000; (b) promissory note in the amount of $5,400,000 payable over

five years and accruing 8% interest per year; (c) the net proceeds resulting from the sale of the

Navy Yard property; (d) any excess cash remaining from the Debtor’s postpetition financing; (e)

all claims against The Rockefeller University and its affiliates arising out of or related to any

injuries to, or damages sustained by, the Debtor in connection with the Abuse Claims; (f)

the Compensation Trust Causes of Action; and (g) the Insurance Assignment, which consists of

the Debtor’s insurance rights under its Abuse Insurance Policies.

           Survivors will be able to share equally in the above-described Compensation Trust Assets

but also prosecute their claims against the Debtor for the purpose of establishing claims against

known insurance. The Committee supports the Plan as it provides for reasonable compensation

for Survivors in less than one year after the Debtor filed its chapter 11 case for claims that have

been pending for decades.



2
    Capitalized terms not defined herein have the meanings used in the Plan.


DOCS_SF:109074.1 54162/004
22-10910-shl        Doc 532   Filed 06/19/23 Entered 06/19/23 17:47:33      Main Document
                                           Pg 3 of 3




 Dated: June 19, 2023                 PACHULSKI STANG ZIEHL & JONES LLP

                                      /s/ John W. Lucas
                                      James I. Stang (admitted pro hac vice)
                                      Iain Nasatir
                                      John W. Lucas
                                      Malhar S. Pagay (admitted pro hac vice)
                                      780 Third Avenue, 34th Floor
                                      New York, NY 10017-2024
                                      Tel: 212.561.7700; Fax: 212.561.7777
                                      Emails: jstang@pszjlaw.com
                                              jlucas@pszjlaw.com

                                      Counsel to the Official Committee of Unsecured
                                      Creditors




DOCS_SF:109074.1 54162/004
